Case 1:17-cr-00101-LEK Document 386 Filed 11/21/18 Page 1 of 6   PageID #: 3567



                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )           CR 17-00101 LEK
                              )
          Plaintiff,          )
                              )
     vs.                      )
                              )
ANTHONY WILLIAMS,             )
                              )
          Defendant.          )
_____________________________ )

             ORDER DENYING DEFENDANT’S FIFTH MOTION FOR
       ORDER TO SHOW CAUSE AND REQUEST FOR EXPEDITED HEARING

            Before the Court is pro se Defendant Anthony T.

Williams’s (“Defendant”) Fifth Motion for Order to Show Cause and

Request for Expedited Hearing (“Fifth OSC Motion”), filed on

August 28, 2018.      [Dkt. no. 307.]     Plaintiff the United States of

America (“the Government”) filed its memorandum in opposition to

the Fifth OSC Motion (“Fifth OSC Motion Opposition”) on

September 27, 2018.      [Dkt. no. 323.]      The Court finds this matter

suitable for disposition without a hearing, Rule LR7.2(d) of the

Local Rules of Practice of the United States District Court for

the District of Hawai`i (“Local Rules”).          Defendant’s Fifth OSC

Motion is denied, for the reasons set forth below.

                                 BACKGROUND

            On February 15, 2017, Defendant was indicted for eleven

counts of wire fraud, in violation of 18 U.S.C. § 1343, and

nineteen counts of mail fraud, in violation of 18 U.S.C. § 1341.

[Indictment (dkt. no. 1).]       On March 28, 2018, a Superseding
Case 1:17-cr-00101-LEK Document 386 Filed 11/21/18 Page 2 of 6   PageID #: 3568



Indictment was filed, charging Defendant with fifteen counts of

wire fraud and seventeen counts of mail fraud.           [Dkt. no. 154.]

At all times relevant to the Fifth OSC Motion, Defendant has been

in custody at the Federal Detention Center – Honolulu (“FDC

Honolulu”).

            On June 30, 2018, Defendant filed a “Fourth Motion for

Order to Show Cause and Request for Expedited Hearing” (“Fourth

OSC Motion”).     [Dkt. no. 287.]     On July 25, 2018, the magistrate

judge filed an order denying the Fourth OSC Motion (“7/25/18

Order”).    [Dkt. no. 297.]     The factual and procedural background

of the Fourth OSC Motion is set forth in the 7/25/18 Order and

will not be repeated here.       In general, the Fourth OSC Motion

arose from the following incidents: 1) the lined writing paper

and manila folders that Mr. Isaacson mailed to Defendant were

returned to Mr. Isaacson by the Bureau of Prisons (“BOP”); and

2) after returning to the FDC Honolulu general population

following confinement in the Special Housing Unit (“SHU”),

Defendant was denied access to the computer disks containing the

discovery the Government has produced in this case (“Discovery

Disks”).    The Fourth OSC Motion sought “an order to show cause

against the Bureau of Prisons/FDC Honolulu for violation of

[Defendant’s] civil rights and interfering with his ability to

defend himself.”      [Fourth OSC Motion at 1.]




                                      2
Case 1:17-cr-00101-LEK Document 386 Filed 11/21/18 Page 3 of 6     PageID #: 3569



            In the 7/25/18 Order, the magistrate judge denied the

Fourth OSC Motion, but ordered the BOP to: 1) upon Defendant’s

email request for each day, provide Defendant access to the

Discovery Disks; and 2) upon Defendant’s email request, provide

Defendant with reasonable access to lined writing paper and

folders.    The magistrate judge ordered the BOP to make reasonable

accommodations necessary to allow Defendant to view the Discovery

Disks for at least two consecutive hours per day.            On August 3,

2018, Defendant filed an appeal of the 7/25/18 Order, which this

Court denied in an order issued on October 3, 2018 (“10/3/18

Order”).    [Dkt. nos. 300, 347.]

            On August 2, 2018, i.e., after the 7/25/18 Order was

issued, Defendant informed Mr. Isaacson that he wanted to keep a

printed copy of all of his discovery in his cell for trial

preparation purposes.      Mr. Isaacson states there are

approximately 53,000 pages of discovery.          [Fifth OSC Motion,

Decl. of Counsel at ¶ 2.]       Defendant told Mr. Isaacson the

printed copy was necessary because of the limited amount of time

each day he now has to review the Discovery Disks.               [Id. at ¶ 4.]

On August 2, 2018, Mr. Isaacson sent a letter to Timothy

Rodriguez, Esq., a BOP attorney, regarding Defendant’s request

(“8/2/18 Letter”).      Mr. Isaacson asked Mr. Rodriguez to clarify

how much paper Defendant would be allowed to keep in his cell.




                                      3
Case 1:17-cr-00101-LEK Document 386 Filed 11/21/18 Page 4 of 6   PageID #: 3570



Mr. Isaacson did not receive a response to the letter.             [Id. at

¶ 3 & Exh. A (8/2/18 Letter).]

             The Government apparently disputes that there was no

response to the 8/2/18 Letter.        See Fifth OSC Motion Opp. at 2

(“Defendant claims that this letter went unanswered.”).             However,

The Government appears to concede that Defendant’s request to

retain a printed copy of his discovery materials has been denied.

The Government argues the Fifth OSC Motion should be denied

because: 1) Defendant has not shown he has been injured by the

lack of a printed copy of his discovery; and 2) this Court should

not consider Defendant’s request because he did not exhaust the

administrative grievance procedures before raising the issue

before this Court.

                                 DISCUSSION

             This Court declines to address the merits of the

Government’s exhaustion argument because, even if Defendant

properly exhausted his administrative remedies, his request must

be denied.    This Court has set forth the applicable standard on

multiple occasions.      In considering the Fifth OSC Motion, “‘this

Court need only determine whether Defendant is being provided

with the constitutionally required access to the resources

necessary to prepare his defense.’”         See 10/3/18 Order at 6

(quoting Order Denying Defendant’s “Motion for Injunction Against

FDC for Retaliation,” filed 10/2/18 (dkt. no. 346) (“10/2/18


                                      4
Case 1:17-cr-00101-LEK Document 386 Filed 11/21/18 Page 5 of 6    PageID #: 3571



Order”), at 7) (citing 10/2/18 Order at 6-7 (quoting United

States v. Robinson, 913 F.2d 712, 717 (9th Cir. 1990))).

            The crux of the Fifth OSC Motion is that Defendant

should be allowed to retain a printed copy of all of his

discovery in his cell because the time he is allowed to review

the Discovery Disks is insufficient.         This Court has already

concluded that “Defendant is being provided with reasonable

access to the Discovery Disks in light of the competing

penological considerations presented by his confinement.”

[10/3/18 Order at 7.]      Defendant has not identified any specific

harm he has suffered either because of the time parameters

established for his viewing of the Discovery Disks or because of

his inability to retain a printed copy of his discovery in his

cell.    Further, he has already had a significant amount of time

to review the discovery in this case.         [Id. (citing Gov’t

response to Fourth OSC Motion, filed 7/17/18 (dkt. no. 292),

Decl. of AnneElizabeth W. Card, PhD, at ¶ 12 (stating that

Defendant had the Discovery Disks for use at a computer terminal

for sixty-one hours from May 8 to June 29, 2018)).]              However, as

noted in the 10/3/18 Order, this analysis may change if further

discovery is produced in this case that Defendant has not yet had

the opportunity to review.       In light of the fact that Defendant

already has reasonable access to the Discovery Disks, he is not

entitled to retain a printed copy of his discovery in his cell.


                                      5
Case 1:17-cr-00101-LEK Document 386 Filed 11/21/18 Page 6 of 6   PageID #: 3572



                                 CONCLUSION

            On the basis of the foregoing, Defendant’s Fifth Motion

for Order to Show Cause and Request for Expedited Hearing, filed

August 28, 2018, is HEREBY DENIED.

            IT IS SO ORDERED.

            DATED AT HONOLULU, HAWAII, November 21, 2018.




                                     /s/ Leslie E. Kobayashi
                                    Leslie E. Kobayashi
                                    United States District Judge




USA VS. ANTHONY T. WILLIAMS; CR 17-00101(01) LEK; ORDER DENYING
DEFENDANT’S FIFTH MOTION FOR ORDER TO SHOW CAUSE AND REQUEST FOR
EXPEDITED HEARING




                                      6
